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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHEASTERN DIVISION

United States of America,                       )
                                                )
                       Plaintiff,               )
                                                )            ORDER ON DEFENDANT’S
vs.                                             )                  MOTIONS
                                                )
Robert John Zukowski,                           )              Criminal No. 3:07-cr-31-02
a/k/a Jay,                                      )
                                                )
                       Defendant.               )


       Before the Court are eight pretrial motions filed by Defendant. The United States has filed

responses to each of these motions. The Court notes that Defendant has filed two other pretrial

motions which are not yet ripe, and this order does not decide those motions.

             I. Motion to Dismiss Counts One and Three, or in the Alternative,
                                  for a Bill of Particulars

       Defendant has filed a Motion to Dismiss Counts One and Three, or in the Alternative, for

a Bill of Particulars (Doc. #112). The United States has filed a brief in opposition (Doc. #129).

       Defendant argues the Superseding Indictment contains merely conclusory allegations and

fails to particularize how he allegedly conspired to commit any crimes. Defendant contends the

Superseding Indictment is legally insufficient, and therefore the charges against him must be

dismissed. Alternatively, Defendant requests that the United States be ordered to file a bill of

particulars containing highly detailed information, including the date and location of any alleged

“agreement” with any co-conspirators; any alleged distribution of drugs by specific date, location,

quantity, and person to whom the distribution was made; the date, manner, and means of each

alleged drug transfer; the date and location of each alleged use of telecommunication facilities; and

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the amount of currency, date, and location involved with each alleged deposit into any allegedly

fictitious bank accounts.

        An indictment is legally sufficient on its face if it contains all of the essential elements of the

offense charged, fairly informs the defendant of the charges against which he must defend, and

alleges sufficient information to allow a defendant to plead a conviction or acquittal as a bar to a

subsequent prosecution. United States v. Carter, 270 F.3d 731, 736 (8th Cir. 2001). An indictment

will ordinarily be held sufficient unless it is so defective that it cannot be said, by any reasonable

construction, to charge the offense for which the defendant was convicted. Id. “While detailed

allegations might well have been required under common-law pleading rules, they surely are not

contemplated by Rule 7(c)(1), [Fed. R. Crim. P.,] which provides that an indictment ‘shall be a

plain, concise, and definite written statement of the essential facts constituting the offense charged.’”

United States v. Resendiz-Ponce, 127 S. Ct. 782, 789 (2007) (distinguishing Russell v. United

States, 369 U.S. 749 (1962)).

        In this case, the Court concludes the Superseding Indictment charging Defendant is legally

sufficient as to both Counts One and Three. The Superseding Indictment contains all of the essential

elements of the offenses charged, citations to the specific statutory provisions which Defendant

allegedly violated, and basic alleged facts such as the quantity and type of drugs, the locations of

distribution, and bank account information. The Court is convinced that Defendant has been fairly

informed of the charges against him. Therefore, Defendant’s Motion to Dismiss Counts One and

Three is denied.

        In the alternative, Defendant requests a bill of particulars containing more detailed

information about the charges against him. The primary purpose of a bill of particulars is to inform


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the defendant of the nature of the charges against him with sufficient precision to enable him to

prepare for trial, thus preventing or minimizing the element of surprise at trial. See United States

v. Hernandez, 299 F.3d 984, 990-91 (8th Cir. 2002); United States v. Wessels, 12 F.3d 746, 750 (8th

Cir. 1993). A bill of particulars also enables the defendant to plead his acquittal or conviction in bar

of another prosecution for the same offense when the indictment is too vague and indefinite.

Hernandez, 299 F.3d at 990-91. However, a bill of particulars is not to be used for discovery

purposes to provide detailed disclosure of the government’s evidence at trial. See Wessels, 12 F.3d

at 750; United States v. Hester, 917 F.2d 1083, 1084 (8th Cir. 1990).

       Here, Defendant is charged with two counts in the Superseding Indictment. Count One

charges Defendant with conspiracy to possess with intent to distribute and distribute a controlled

substance in violation of 21 U.S.C. §§ 841(a)(1) and 846, 18 U.S.C. § 2, and Pinkerton v. United

States, 328 U.S. 640 (1946). Count Three charges Defendant with a money laundering conspiracy

to conceal and disguise the nature, location, ownership, and control of proceeds of specified

unlawful activity in violation of 18 U.S.C. § 1956(h). Both counts list a specific time period during

which the alleged conspiracies occurred. Count One particularly alleges that Defendant was part

of a conspiracy, along with his three co-defendants, to distribute in excess of 500 grams of a mixture

and substance containing a detectable amount of methamphetamine in North Dakota, Minnesota,

and Washington.       Count One further alleges that members of the conspiracy transferred

methamphetamine from the state of Washington to Fargo, North Dakota, and Moorhead, Minnesota,

for distribution. Count Three particularly alleges that Defendant was part of a conspiracy which

used fictitious business bank accounts to deposit drug proceeds and transfer currency from North

Dakota to Washington, and lists two specific US Bank account numbers.


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       The Court finds the Superseding Indictment informs Defendant of the nature of the charges

against him with sufficient particularity to enable him to prepare for trial. Therefore, a bill of

particulars is unnecessary. Defendant’s request for highly detailed disclosures about the evidence

against him is an impermissible attempt to use a bill of particulars as a discovery tool.

       Defendant’s Motion to Dismiss Counts One and Three, or in the Alternative, for a Bill of

Particulars is DENIED.

                           II. Motion to Compel Handwriting Exemplars

       Defendant has filed a Motion to Compel Handwriting Exemplars (Doc. #103). Defendant

requests that Jiyeon Kim be directed to provide handwriting exemplars in order to determine the

source of writings on a calendar seized by law enforcement. The United States does not object,

provided Ms. Kim’s defense counsel and an expert designated by the United States are present

during the taking of the exemplars (Doc. #122).

       Defendant’s Motion to Compel Handwriting Exemplars from Jiyeon Kim is GRANTED.

The Court further ORDERS that Ms. Kim’s defense counsel and an expert for the United States

must be present while the exemplars are taken.

                           III. Motion for Attorney Conducted Voir Dire

       Defendant has filed a Motion for Attorney Conducted Voir Dire at trial (Doc. #108). The

United States does not object to the motion (Doc. #123). It is this Court’s standard procedure to

allow counsel for both parties to question jurors during voir dire, so Defendant need not have filed

a motion to that effect.

       Defendant’s Motion for Attorney Conducted Voir Dire is GRANTED. The Court further

ORDERS that questioning by counsel during voir dire will be limited to thirty minutes per side.


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                 IV. Motion to Disclose or Produce Confidential Informants

       Defendant has filed a Motion to Disclose or Produce Confidential Informants (Doc. #104).

Defendant requests the United States be ordered to disclose the names and addresses of certain

informants referenced in the discovery. Defendant also states that he has only received four pages

of a nine-page report regarding an interview on May 9, 2007, with Confidential Informant #0706.

The United States responds that it disclosed the identities of the confidential informants in a faxed

letter to Defendant’s counsel dated October 12, 2007 (Doc. #124). The United States further

responds that it provided all nine pages of the report regarding Confidential Informant #0706 in

discovery, located at Bates stamp numbers 03635 through 03643. Defendant has not filed a reply

disputing the United States’ claim that it has provided the requested disclosures.

       In light of the foregoing, Defendant’s Motion to Disclose or Produce Confidential Informants

is DENIED AS MOOT.

                  V. Motion to Order Psychological Examination of Witness

       Defendant has filed a Motion to Order the Psychological or Psychiatric Examination of a

Party-Witness (Doc. #105). Defendant anticipates that co-defendant Jiyeon Kim will testify for the

United States at trial, and requests that she be required to undergo a psychological examination.

Defendant claims that Ms. Kim suffers from a personality disorder such that she is not fit to testify

against him at trial. In support of this claim, Defendant points to Ms. Kim’s history of abusing drugs

and fabricating stories. Defendant further claims that a psychological evaluation of Ms. Kim is

necessary for an effective cross-examination, in the event she does testify at trial. The United States

opposes Defendant’s motion (Doc. #125).




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        The decision to order a psychological or psychiatric examination of a witness is entrusted

to the sound discretion of the district court, in light of the particular facts of each case. United States

v. Skorniak, 59 F.3d 750, 755 (8th Cir. 1995). “Ordering a witness to undergo a psychological

examination is a drastic measure.” United States v. Riley, 657 F.2d 1377, 1387 (8th Cir. 1981). In

Riley, defense counsel submitted an affidavit describing a witness as a “pathological liar” with a

history of drug and alcohol abuse. Id. The Eighth Circuit held the defendant made an insufficient

showing of the need for a psychiatric examination. Id.

        In this case, the Court concludes a psychological or psychiatric examination of Jiyeon Kim

is not warranted, either to determine her competency to testify or to provide Defendant with

additional material for cross-examination. In his motion, Defendant makes fairly conclusory

statements about Ms. Kim’s history of abusing drugs and fabricating stories. Based on the

information submitted by Defendant, the Court is not convinced that it should take the drastic

measure of ordering Ms. Kim to undergo a psychological examination. The issues raised by

Defendant more appropriately go to Ms. Kim’s credibility, not her competency to testify, and

Defendant will have the opportunity to cross-examine Ms. Kim at trial regardless of whether a

psychological examination is ordered. See Skorniak, 59 F.3d at 755.

        Defendant’s Motion to Order the Psychological or Psychiatric Examination of Jiyeon Kim

is DENIED.

                  VI. Motion for Discovery Regarding Government Witnesses

        Defendant has filed a Motion for Discovery Regarding Government Witnesses (Doc. #109).

Defendant seeks an order compelling the United States to provide particular information about its

witnesses, including any evidence of bias, prior criminal acts, ongoing investigations into


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misconduct, medical or psychiatric reports or evaluations, or history of drug use or alcoholism.

Defendant further requests access to each agent’s personnel file to determine whether there is any

impeaching information contained therein. The United States responds that it has provided

Defendant with all materials to which he is entitled, and some additional materials in accordance

with its open discovery policy (Doc. #121). The United States specifically objects to disclosing

personnel files to Defendant.

       The United States has provided Defendant with extensive discovery in this case, in

accordance with the Stipulated Discovery Order dated May 16, 2007, which provides for open

discovery. The United States asserts that it has provided Defendant with all discovery required by

Fed. R. Crim. P. 16, statutes, and case law, and that it will continue to provide supplemental

disclosures as required. The United States cannot disclose any additional materials requested by

Defendant which it does not have. Therefore, to the extent the United States has complied with the

Stipulated Discovery Order and other applicable laws governing discovery, Defendant’s motion for

additional discovery is moot.

       As to the personnel files, the United States is not required to disclose entire personnel files

simply because Defendant requests them. It is the prosecutor’s duty to examine documents to

determine whether they contain discoverable material under Brady or other applicable laws. See

United States v. Van Brocklin, No. 96-2326, 1997 U.S. App. LEXIS 20745, at *13 (8th Cir. June

6, 1997). Defendant’s mere speculation that a personnel file may contain exculpatory evidence or

impeaching information is insufficient. Id. at *14. A district court does not abuse its discretion

when it denies a motion to compel production of personnel files, absent a colorable showing that the

file in fact contained Brady material or that the government acted in bad faith. Id.


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       Defendant is not entitled to discovery of each agent’s personnel file to determine whether

there is exculpatory or impeaching information. The United States has a continuing obligation to

provide Defendant with discovery materials to which he is entitled under applicable rules, statutes,

and case law, including any such information from a personnel file. The Court concludes

Defendant’s motion as to personnel files must be denied.

       Defendant’s Motion for Discovery Regarding Government Witnesses, with regard to

production of personnel files, is DENIED. Defendant’s request for other disclosures in that same

Motion for Discovery is DENIED AS MOOT.

                VII. Motion for Discovery of Expert Qualifications, Opinions,
                               and Bases for Expert Opinions

       Defendant has filed a Motion for Discovery of Expert Qualifications, Opinions, and Bases

for Expert Opinions (Doc. #110). The United States objects to a portion of Defendant’s motion

(Doc. #126).

       Defendant requests that the United States be ordered to provide him with a written summary

of any expert testimony which the United States intends to introduce in its case-in-chief at trial under

Fed. R. Crim. P. 16(a)(1)(G). Defendant argues that as part of that summary, the United States

should be required to provide the names and numbers of any cases in which the expert witness gave

prior testimony, and the training materials or particular cases upon which the expert witness will be

basing his or her opinion. The United States objects to that portion of Defendant’s motion which

requests case names and numbers, and training materials or particular cases.

       Rule 16(a)(1)(G), Fed. R. Crim. P., provides that the United States must make certain

disclosures regarding expert witnesses:




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       At the defendant’s request, the government must give to the defendant a written
       summary of any testimony that the government intends to use under Rules 702, 703,
       or 705 of the Federal Rules of Evidence during its case-in-chief at trial. . . . The
       summary provided under this subparagraph must describe the witness’s opinions, the
       bases and reasons for those opinions, and the witness’s qualifications.

The Advisory Committee Notes to Rule 16(a)(1)(G) further explain that the summary of bases relied

upon by the expert “should cover not only written and oral reports, tests, reports, and investigations,

but any information that might be recognized as a legitimate basis for an opinion under Federal Rule

of Evidence 703, including opinions of other experts.”

       Here, Defendant has made the appropriate request for a summary of expert witness

testimony. Therefore, if the United States intends to introduce expert testimony in its case-in-chief,

Rule 16 clearly requires the United States to provide a summary of the witness’s opinion, the bases

for that opinion, and the witness’s qualifications. The Court grants Defendant’s motion to the extent

that notice of expert testimony is required under Rule 16. However, the Court is not convinced that

Rule 16 requires the highly detailed disclosures which Defendant has specifically requested, and

Defendant has not cited any other authority in support of his request. The Court declines to order

that the United States produce a list of the cases, including names and numbers, in which any expert

witness gave prior testimony. The Court also declines to order that the United States produce a list

of the particular individual cases on which an expert’s opinion may be based.

       The Court recognizes that expert testimony has become routine in drug cases. See United

States v. Anderson, 446 F.3d 870, 875 (8th Cir. 2006). Nevertheless, “[t]he government should

disclose the substance of any expert testimony upon request, even if such testimony may be

considered ‘routine’ testimony of a case agent concerning standard criminal operations.” Id.

Although it is clear the United States must comply with the notice requirement of Rule 16, it is


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difficult to anticipate exactly what would constitute sufficient notice. It is conceivable that training

materials may form the basis of an expert opinion. At this time, the Court will simply order that the

United States provide Defendant with notice of expert witnesses as required by Rule 16. The Court

further notes that the United States may request reciprocal discovery of expert witness testimony

from Defendant under Rule 16(b)(1)(C). Assuming the United States makes such a request, both

parties must give notice of all expert witnesses by Thursday, November 8, 2007.

        Defendant’s Motion for Discovery of Expert Qualifications, Opinions, and Bases for Expert

Opinions is GRANTED IN PART. Defendant’s specific request for a list of particular individual

cases, including names and numbers, in which any expert witness gave prior testimony or on which

an expert’s opinion may be based is DENIED.

                                      VIII. Motion in Limine

        Defendant has filed a Motion in Limine to preclude the admission of certain evidence at trial

(Doc. #111). Defendant argues that nine different pieces of evidence are irrelevant and therefore

should be excluded. The United States has filed a response stating that it does not intend to

introduce some of that evidence at trial (Doc. #120). The United States further requests a deferred

ruling on the relevancy of the other evidence until trial, when its probative value will be clearer. The

Court agrees that it would be prudent to rule on any issues of relevancy on the day of trial.

Therefore, the Court will deny Defendant’s Motion in Limine at this time, and Defendant may renew

his objections to this evidence at trial.

        Defendant’s Motion in Limine is DENIED.

        IT IS SO ORDERED.

        Dated this 31st day of October, 2007.


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                                 /s/ Ralph R. Erickson
                              Ralph R. Erickson, District Judge
                              United States District Court




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